Case 20-03032-KLP         Doc 6    Filed 05/22/20 Entered 05/22/20 14:04:27     Desc Main
                                   Document      Page 1 of 6



                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

In re: Paul Richard Stewart                                    Case No. 20-30038-KLP
Debtor                                                         Chapter 13



Donald R. Stewart,                        )
                                          )
       Plaintiff                          )
                                          )
v.                                        )             Adv. Pro. No. 20-03032-KLP
                                          )
Paul Richard Stewart,                     )
                                          )
       Defendant                          )

                                    NOTICE OF MOTION

      The above named Defendant, by counsel, has filed a Motion to Dismiss
Complaint. Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one.

NOTICE IS HEREBY GIVEN THAT A HEARING ON THIS MOTION WILL BE HELD
ON June 24, 2020 at 9:30 a.m. in Honorable Keith L. Phillips’s Courtroom, U.S.
Bankruptcy Court, 701 E. Broad Street, Room 5100, Richmond, VA 23219.

       If you want to be heard on this matter, then not later than seven (7) days before
the date of the hearing, you or your attorney must:

       1.      File with the court, at the address below, a written response pursuant to
               Local Rule 9013-1(H). If you mail your response to the Court for filing, you
               must mail it early enough so that the Court will receive it on or before the
               date stated above
                                     Clerk of Court
                                     United States Bankruptcy Court
                                     701 E. Broad Street, Room 4000
                                     Richmond, VA 23219-3515
Amanda Erin DeBerry (VSB #83805)
Boleman Law Firm, P.C.
2104 Laburnum Avenue, Suite 201
Richmond, Virginia 23227
(804) 358-9900
Counsel for Debtor/Defendant
Case 20-03032-KLP      Doc 6    Filed 05/22/20 Entered 05/22/20 14:04:27        Desc Main
                                Document      Page 2 of 6




       2.     You must also send a copy to:

                                   Boleman Law Firm, P.C.
                                   2104 Laburnum Avenue, Suite 201
                                   Richmond, Virginia 23227

      If you or your attorney do not take these steps, the Court may decide that you do
not oppose the relief sought in the Motion and may enter an Order granting that relief.

                                          Paul Richard Stewart
                                          By Counsel:

                                          /s/ Amanda Erin DeBerry
                                          Amanda Erin DeBerry (VSB #83805)
                                          Boleman Law Firm, P.C.
                                          2104 Laburnum Avenue, Suite 201
                                          Richmond, Virginia 23227
                                          (804) 358-9900
                                          Counsel for Debtor/Defendant




                               CERTIFICATE OF SERVICE

       I certify that on May 22, 2020, a copy of the foregoing was served via first class
mail and CM/ECF to W.R. Baldwin, III, counsel for Plaintiff at the address set forth
below.


W. R. Baldwin, III
5600 Grove Avenue
Richmond, VA 23226


                                          /s/ Amanda Erin DeBerry_
                                          Counsel for Debtor/Defendant
Case 20-03032-KLP         Doc 6    Filed 05/22/20 Entered 05/22/20 14:04:27     Desc Main
                                   Document      Page 3 of 6



                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

In re: Paul Richard Stewart                                    Case No. 20-30038-KLP
Debtor                                                         Chapter 13



Donald R. Stewart,                        )
                                          )
       Plaintiff                          )
                                          )
v.                                        )             Adv. Pro. No. 20-03032-KLP
                                          )
Paul Richard Stewart,                     )
                                          )
       Defendant                          )

                     MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       COMES NOW the Defendant, Paul Richard Stewart (the “Defendant”), by

counsel, and submits this Motion to Dismiss Plaintiff’s Complaint. In support thereof,

the Defendant states the following:

       1.      On April 21, 2020, Plaintiff Donald R. Stewart filed a Complaint (“the

Complaint”) objecting to the discharge of a debt allegedly owed to Plaintiff by the

Debtor.

       2.      Pursuant to Bankruptcy Rule 4004(a), the deadline to file a complaint in a

Chapter 13 case is 60 days after the first date set for the meeting of creditors under

§341(a).

       3.      Debtor’s meeting of creditors was scheduled for March 20, 2020.

Amanda Erin DeBerry (VSB #83805)
Boleman Law Firm, P.C.
2104 Laburnum Avenue, Suite 201
Richmond, Virginia 23227
(804) 358-9900
Counsel for Debtor/Defendant
Case 20-03032-KLP       Doc 6    Filed 05/22/20 Entered 05/22/20 14:04:27         Desc Main
                                 Document      Page 4 of 6



         4.    Plaintiff was listed as a creditor in Debtor’s bankruptcy petition, and, as

such, was mailed Official Form 309I – Notice of Chapter 13 Bankruptcy Case.

         5.    The deadline to file an objection to the dischargeability of a debt, per

Official Form 309I, was April 20, 2020.

         6.    The Plaintiff has not timely filed a Complaint against the Debtor objecting

to dischargeability of a debt as it was filed with the Court the day after the deadline to do

so.

         7.    Pursuant to Bankruptcy Rule 4004(b)(1), any motion to extend the time to

file a complaint “shall be filed before the time has expired.”

         8.    Judge Shelley has previously ruled on this issue, stating that when the

language of 4004(b) was changed to state that the motion shall be filed before the

deadline has expired, the Court lost its discretion to extend the time to object to

discharge after the deadline has expired. See In re Lane, 37 B.R. 410 (Bankr. E.D.Va.,

1984).

         9.    Therefore, Plaintiff’s Complaint should be dismissed pursuant to

Bankruptcy Rule 4004.

         10.   Debtor further notes that the Complaint which was filed was deficient, both

in failure of Counsel to sign the Complaint, but in numerous other inconsistent and

inaccurate instances throughout the complaint, including, but not limited to incorrectly

identifying the parties in the initial paragraph of the complaint.

         11.   A Notice of Deficient filing was issued on April 22, 2020, with a deadline to

correct the deficiency by May 6, 2020. The remedy for failure to correct is normally an

automatic dismissal of the Complaint, however in this case an Order to Show Cause
Case 20-03032-KLP        Doc 6    Filed 05/22/20 Entered 05/22/20 14:04:27        Desc Main
                                  Document      Page 5 of 6



was issued.

       12.    To date, the Plaintiff has neither attempted to correct the initial deficiency,

nor responded to the Order to Show Cause.

       13.    No certificate of service has been filed with the Court, and Plaintiff avers

that he has not been served pursuant to Rule 7004, however this response and Motion

to Dismiss is being filed out of an abundance of caution as counsel for Debtor did

receive electronic notice of the filings.

       14.    To the extent a response is required, Defendant denies the allegations set

forth in Plaintiff’s complaint, and demands strict proof thereof.

       15.    Pursuant to Bankruptcy Rule 7012(a), a responsive pleading must be filed

within 30 days of the issuance of the summons. This Motion to Dismiss is timely filed.

       WHEREFORE, the Defendant respectfully prays that this Court:

       A.     Dismiss the Plaintiff’s Complaint;

       B.     Award Defendant such other and further relief as is just.



                                     Paul Richard Stewart

                                     By:    /s/ Amanda Erin DeBerry
                                            Amanda Erin DeBerry (VSB #83805)
                                            Boleman Law Firm, P.C.
                                            2104 Laburnum Avenue, Suite 201
                                            Richmond, Virginia 23227
                                            (804) 358-9900
                                            Counsel for Debtor/Defendant
Case 20-03032-KLP      Doc 6    Filed 05/22/20 Entered 05/22/20 14:04:27        Desc Main
                                Document      Page 6 of 6




                               CERTIFICATE OF SERVICE

       I certify that on May 22, 2020, a copy of the foregoing was served via first class
mail and CM/ECF to W.R. Baldwin, III, counsel for Plaintiff at the address set forth
below.


W. R. Baldwin, III
5600 Grove Avenue
Richmond, VA 23226


                                          /s/ Amanda Erin DeBerry_
                                          Counsel for Debtor/Defendant
